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                                         UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                              Case No.: 1:21-cr-00503-RCL-1



                             v.                        AMENDED MOTION TO MODIFY
                                                       CONDITIONS OF RELEASE
GLENN ALLEN BROOKS,                                    (ADDING AMENDED PROPOSED
                                   Defendant.          ORDER)



                        COMES NOW, Glenn Allen Brooks, through counsel, Joseph R. Conte,
to respectfully request this honorable court to amend his conditions of release to
vacate the order that he not possess firearms. As grounds for this motion counsel
would state:
                        1. The defendant is charged with violations of 18 U.S.C. § 1752(a)(1) -

Knowingly Entering or Remaining in any Restricted Building or Grounds Without

Lawful Authority, 18 U.S.C. §1752(a)(2) – Disorderly and Disruptive Conduct in a

Restricted Building, 40 U.S.C. § 5104(e)(2)(D) - Violent Entry and Disorderly

Conduct on Capitol Grounds, 40 U.S.C. §5104(e)(2)(G) – Parading, Demonstrating,

or Picketing in a Capitol Building.

                        2. All of the charges are misdemeanors.

                        3. None of the charges allege acts of violence by the defendant.

                        4. Nothing in the discovery provided to date contains any indicia of

violence by the defendant.

 United States v. Glenn Allen Brooks, Case No. 1:21-                  Joseph R. Conte
 cr-00503-RCL-1                                                       Law Office of J.R. Conte
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 Amended Motion to Modify Conditions of Release                       Washington, D.C. 20004
 (Adding Amended Proposed Order                                       Phone: 202.638.4100
 Page -1-                                                             Email: dcgunlaw@gmail.com

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                           5. Even if convicted of the pending charges the defendant would still

retain the right to possess firearms.

                           6. The Bail Reform Act, 18 U.S.C. §3142(c)(1)(B) provides for release of

a person on conditions subject to the:

                           least restrictive further condition, or combination of
                           conditions, that such judicial officer determines will
                           reasonably assure the appearance of the person as
                           required and the safety of any other person and the
                           community, which may (emphasis provided) include the
                           condition that the person—

                           ....

                           (viii) refrain from possessing a firearm, destructive device,
                           or other dangerous weapon.


                           7. The defendant’s prohibition from possessing any firearms, where

there has been no showing of danger to any other person and the community, is not

the “least restrictive” condition of release. 1

                           8. Other than §3142’s suggestion that prohibition of firearms

possession may apply in the appropriate case there is no statutory preclusion to the

defendant’s Second Amendment right to possess a firearm while charged with the

misdemeanor offenses he is currently charged with. The only such restrictions

contained in the United States Code are 18 U.S.C. §922(g)(8) prohibiting possession



1
 The prohibition of possessing a firearm is one of the “standard” conditions of release requested by
the United States in all the Capitol riot cases without consideration of the facts of each individual
case.
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by a person subject to a restraining order prohibiting harassing, stalking, or

threatening an intimate partner, 18 U.S.C. §922(g)(9) prohibiting a person

convicted of a misdemeanor crime of domestic violence, and 18 U.S.C. §922(n)

prohibiting any person under indictment for a crime punishable for imprisonment

for a term exceeding one year to ship, transport, or receive any firearm that has

been shipped or transported in interstate or foreign commerce.

                        9. The defendant is not charged with a crime of violence or a felony,

the prohibition of possessing a firearm is not warranted given the facts of the case.

                        WHEREFORE counsel respectfully requests that his motion be

granted.

Dated: February 25, 2022




                                                               Respectfully submitted,




                                                                _________________________
                                                               Joseph R. Conte
                                                               Counsel for Glenn Allen Brooks
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                                                               400 Seventh St., N.W., #206
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